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                                                                                                   20cv00513
                                                                                                   DivT


                  rN THE DISTRICT COURT OFJOHNSON COUNTY, KANSAS
                                  CTVIL DTVISION

 S.G., individually and                                  )
as guardian      ofII.C.,                                )
                                                         )
                                 Plaintiffs,             )       Case No.:
                                                         )
v.                                                       )
                                                         )
STIAWNEE MISSION SCHOOL DISTRICT                         )
USD 512,                                                )
                                                        )
     Serve: Mr. Mlchael Fulton                          )
            Superintendent                              )
            8200 W. 71"t Street                         )
            Shawnee Mission, KS 66204                   )
                                                        )
AI\D                                                    )
                                                        )
HEATHAR OUSLEY, SHATVI{EE MISSION                       )
scHool, DISTRICT, USD 512,                              )
BOARD OF EDUCATION PRESIDENT                            )
                                                        )
     Serve: 8200 W. 7l"t Street                         )
            Shawnee Misslon, KS 66204                   )
                                                        )
AND                                                     )
                                                        )
TEDDI PENDI,AND                                         )
     Serve: 31 Sunrise Drive                            )
            Rancho Mirage, CA 66207                     )
                                                     )
AND                                                  )
                                                     )
CRYSTAL SMITH                                        )
  Servel lI5 NE 476 Street                           )
         Kansas Ctty, MO 64lto                       )



                                               PETITION

        Plaintiff S.G,, individually and on behalf of her child, H.C., by and through connsel, and

for their   callses   of action against Defendants Shawnee Mission School District USD                512,



                                                             Cleft of the District Couft, Johnson County Kansas
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 Heather Ousley, thc Shawnee Mission School District USD 512 Board of Education President,

 Teddi Pendland ("Pendland"), and Crystal Smith ('iSmith") srate thc following:

                                Parties, Jurisdiction" and Venue

         1.       PlaintiffH.C, ('H.C,') is a minor child whose date of birth is 06/28/2A13. H.C,

 currently resides in Johnson Counry, I(arxas, At all relevallt times, H.C, rvas a stuclent at

 ISluejacket-Flint Elenientary School ('oBluejacket-F'lint")   in   Shar,vnee I\{ission School District

 USD 512,

        2.      Plaintift S.G. ('S.G.") is the parent and legal guardian of     H.C.     S,G. currently

resides inJohnson County, I(ansas u,ith H,C.

        3,      S'G. brings these causes of action on behalf of her rninor daughter, H.C.

        +,      Defendant Sharqnee Mission School District USD 512 ('SMSD") is a public-

school district located inJohnson County, Kansas, 'Ihe Schooi District is a governmental entity

created to provide public education to children within its bounclalies.

        5'      Defendant Heather Ousley is the Shawnee A4ission School District USD 512

Board of Education President ("School Board President") (SMSD and School Boarcl Presiclent

are collectively referred to hcrein as "District") is locatecl at 8200 \V. 7I*t Street, Shawnec

\4ission, I(S 66204' Ousley, as School Boarcl Presiclent exercises policymaking authority over

the School District.

       6'      Upon information and belief Defendzurt Tedcli Pendland ("Penclland")                 r.vas

principal of Bluejacket-Flint during the 20lB-20I9 school ycar and currently resiclcs inJohnson

CounLy, I(ansas

       7.      Upon information and beliefl, Defendant Crystal Smith was                 a   teacher at

Bluejacket-Flint during the 2018-2019 school and currently resides inJohnson Counry, I(S,




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             B'       Veuue arid jurisdiction are proper punuani to I(.S,A, $ 60-604 and $ 60-608 in

 dris court over all Defendants because the causes of action adse fi.om events that took place in

Johnson County, I(ansas,

            9,        Pursttaut to the requirenents of the I(ansas Tort Claims Act, Plaintifls providect

 the District with rvritten notice of their intent to sue on       May 16, 201g.      ,See   I(S,A. $ l2-lOsb(cl).

 The District failed to approve Plainti{fs' claims in their entirety within 120 claln Q.e. by

 Septernber 13, 2019). Plaintiffs, therefore, have complied with rhe sratutory waiting periocl

 prescribed in $      12-   l05b(d) of the Kansas 'l'ort Claims Act.

                                                      The Event

            10.      H.C.    r,vas   a kindergarten student at Bluejacket-Flint ("Bluejacker") in the Spring

 2019 school year,

            11.      Upon information and belief, Smith was hired by the District to teach at

Bluejacket for the 20lB-2019 school year,

            L2'      Upon information and belief, Smith was pleviously employed at Kitry Hawk

Blementary Scltool in Dare County, North Carolina.

            13.      Upon information and belief, the District contacted an administr.ator at her prior

employer to determine if they would re-hire her and the response was ,.no.',

            W'       Despite tl:is information, Smith was hired to teach kindergarteners ancl she was

H.C.'s teacher for the Spring 20l9 school year.

            15'      February 21, 20lB was a Thursday, On that day, H,C. went to school.jrst like any

legular school day,

            16'      On this particular day, H.C,'s class had the plivilege of going to the library.

            17   ,   Smith droped her students off at the library and did nor stay r,r.ith thern for library

finle   ,



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           lB,    \\ hile i.   the library, H.C. created some artwork for her nother.

           19.    After finishing her artwork, H,c. Iooked for a book ro check our,
                                                                                                                      a




          20,     After finding the book, all of the students helpecl clean up,

          21,     Wrile doing so, H.C. picked up the book she wanted to check our ancl looked for

tlte arh'vor* slte created inside the book (because she thought that was rvhere she placecl it).

          22,     She could not find    it inside of the book   so she looked all around the librar.y,

          23,    Anotlter child helped hel look and, eventually, they found the artwork.

          2+,    Becattse      it fell on the ground, the artwork was crumhled          ancl this made H.C.

ullset,

          25,    H.C. approached the librarian to shorv her the damage to the work. It was at that

time that Srnith reentered the library.

          26'    H.C. responded to Smith by going toward the children that were Linecl up                   ancl

ready to leave the library.

          27.    H'C' did not get into the line and it appears shc rvas tolcl by Smith to stand by the

bookshehres, out of line,

          28.    H.C.   sat on the   floor next to rhe bookshelves.

          29.    The other children in H.C.'s class exited the library,

          30.    H.C. then crawled into a bookshelf opening and crouchecl in what appeared to be

fcar of Smith.

          3l.    \,Vhile hiding, Smith continued to speak $,ith the      libraria'.
          32'    Upon completing her conversation, Srnith went to the bookshelf ancl forcefully

grabbed H.C. and     yanJ<ed    her out of the bookcase,

          33'    Smith then appeared to pin H.C,'s arm behind her back causing H.C,               pail.


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        34.       Smith thcn stepped away from H.C. and lookcd to see if anyone rvas watching

 her.

        35'       Upon informarion and belief, Smith knerv the librar.ian was ar her desk in the

library and asked the librarian to contact the principal for assistance,

        36,      As the libralian picked up a corrmurrication der.ice and turned lrer back to               Srnitll
snrith forcefully kicked H.c. u'hile    she was still lying   on the ground in fear.

        37   '   H,C' continued to lie on the floor in fear      as Srnith cou,ered over her.

        38.      Smith then stepped away from H.C. and approached her again in an eflort to get

H,C. to stand up,

        39'      H'C. eventually stood up on her own, with arms crossed, and walkecl out of the

library behind Smitli.

        40.      A video carncra captured the entire event.

        41.      After the event, s,G. was not contacted to be inforrned of t[e ei,ent.

        +2'      Instead, S,G. picked up H.C, fi'om school and H,C, told S.G, rvhat occurred that

day at school,

        43.      S.G. then went to Bluejacket to get an understanding of the situation that

occurred.

        4+.      S.G, met with I\{s.   IGitlin Barnard ("Barnard"). Barnarcl informecl S.G. that H.C.

lvas brought to Barnard's room by Pendland.

        45'      Batnard admitted to S.G. that H.C. infonned Barnard her.teacher hit her arm

and hurt her, But Barnard also explained that she was not there ancl clicl not know what

happencd,

        46'      Barnard informed S.G. that she took H.C, back to Smith's classroom after H,C,

calmed down.

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         47.      Barnard also infortned S.G. that she did not report what H,C, told hcr to anyonc,

         4B'      S.G' confi'onted Smith about the e\/ent and Srnith cienied inflicting any harm

 upon her, Smith infornred S,G. that her daughter H.C. was not being tmthful, ancl it was

 suggested that   H.C. tnay harre self-inflicted any harm or mar*s she had on her arprs,

         +9'      S,G. spoke with the Pendland and requested for the video cameras to be reviewecl

 to attempt to figure out anything. Pendland advised she rvould review the vicleo cameras ro

 attempt to understand the situation,

         50,      l'here was lto suggestion that the video cameras had already been rerriewed or

 that an Emergency Safety Intervention event had been called that required any kind of restraint

 for H,C.

        51'       Pttrsuattt   to the District's policies and   procedures,        "an      emergency safety

intervention shall be used only when a student presents a reasonable and immediate danger of

physical harm to such student or others with the present ability to a{fect such pfu1,sical harrn.',

        52.       Proue, or face down, physical resfaint is prohibited plu.suant to the emergency

safety inten ention standards.

        53,       Despite no evidence to suggest an Bmergency Safety Intervention was neeclecl or

actually called, S.G. subnitted a Release of Records Request Forrn, which includecl a request for

arry Emergency Safety Intervenrion Reports on fufarch q,20l.g,

        5+'       S.G, received an email from Pendland on IVIarch 4,2019 which included an

Brnergency Safety Iutervention Report that was clated as r,r,ritten ou February 27, 201g, ancl

stated that the Enrergency Safety Interve ntion was done on February       2I          g,
                                                                                , z0 I

        55, The letter          acknowledged   H,C, "didn't do arryrhing to                  necessitate the

iutert eution," 'I'he letter further adrnitted Snrith "took it upon herself to grab
                                                                                    tH.C.] by the arrns
and pull her out of the bookshelf She then kickecl the stuclent,',

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                  .llte
         56'              letter went on to say Pendland was called for he\r and Pendland took H.C. to

 calm dou'n.

         57,      The emergency safety intervention protocol manclates tl're school contact parents

 on the day of the intervention to inform them of the intervention.

         58'     The ernetgency safety intervention plotocol also rnandates the parent receiye

 documentation of the intervention by the school day following the errent specifically explaining

 the evetrts that led up to the intervention, all steps taking during the inten ention along with all

people present and significant explanation regarding the facts of the event,

         59'     The District, Pendland and Smith did not follorv the mandared protocols of the

emergtncy safety inten ention plan, assuming the event qualified as any such intenrention.

         60.     In fact, nol:ody attempted to contact S.G. to inform her of this evelt.

         61.     Had H'C. not told S.G, of the errent upon beingpicked np, it is possible thar it

would have ne\rer been reported,

         62'     Had S'G. not gone to Bluejacket to investigate and demand answers irnmecliatell,,

it is likely that nobody would have looked at the video cameras ever and H.C. would have
returnecl to school to possibly suffer more abuse at the hands of smith,

                  Policies a4d Procedures Related to student supervision

        63'     Distfict enacted a series of policies and proceclures governing the care and

supervision of children at their facilities.

        64.     District Policy "GAAtr"' (Emergency Safety Intervention) identifies when an

intcn'ention can take place and how it is to be managed. 'fhe policy demands all staff members

be trained consistent with nationally recognized training programs regarding the use of positive

behavioral iutenrention strategies, de-escalation techniques, and prerrention techniques, GAAF

also mandates parent communication and ahnost immediate docurnentation.

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         65,      District Policy "CAArr" (Chilcl Abuse Investigation) rnandates that as soon as a

 child is suspected of being abused p\sically, mentally, or emorionally, the school personnel

 iriitially discoveling the information is required to imrnediately contact the Department for

 Children and Families.

         66.      District Policy "QMF., (Bullying by Staff) preverlrs any staff member from

bullying shrdents and if it occurs, staff members rvho violate the bullying prohibition shall be

reported to local law enforcement.


         COUNT I: YIOLI,TIONS OF 42 U.S.C. g l9B3 FOR pEIyIAL OF H.C.'S
            LIBERTY INTBRBST IN BODILY INTEGRITY UNDER THE
               DUE PROCESS CLAUSB OF THE I4TH AMENDMENT

                                 (Plaintiffs v. Defendant Srnith)

        67.      Plainti{fs hereby incorporate     by   reference   the allegations contained        in the
preceding paragraphs as if fully ser forth herein.

        68'      Upon inforrnation and belief, Defendant Smith was classified as an employee of

District (i.e, a go\/emment entiry) during the relevant time period and, therefore, was acting

nnder color of state law.

        69.      H.C. has a protected liberty interest in her bodily integliry and ro be free frorn

physical assault, This libelry interest, in turn, rvas cleally establishecl at all times relevapr to this

Conrplaint.

        70.      Defendant Smith assumed a duty to protect H.Cl. {iorn unreasonable risks of harrn

and to act   in loco gtarentis while teaching H.C.

        71.      H.C.'s right to be free from physical harm fiom her teacher, Defendant Smith,             is

clearly established.




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          72'     Defendant Smith placed H,C. at a significanr risk of serious, immediate, and

proxirnate harm lvhen she failed to follow standald procedures to de-escalate a situation ancl,

instead, physically harmed H,C.

          73.     The   r^isk   of,harm to H,C. was knou,n and apparent to Defendant Smith l:ecause

she had clirect knowledgr of her responsibility to care for H,C,

          7+.     In failing to properly intervene, and instead, physically harming H.C. Defenclant

Smith actecl recklessly and u'ith conscious disregard for H.C.,s safety.

         75.     As a direct and proxinrate result of Defendant Smith's acrions H,C. su{tered

physical harm and trauma.

         76,     Smith's deliberate indifference         to H.C,'s physical well         being shocks the
couscicnce.

         77.     Smith's actions were intenrional, willful, and wanton and displayed a deliberate

and callous indi{ference to H.C,'s federally-protected rights such that H,C, is entitlecl to an award

ofpunitivc damages.

         78'     As a direct and proximate result of the Smith's deliberate indi{ference to knor,vn

acts of constitutional deprivation, H,C. suffered darnages including but nor limited           to: (l)denial
of access to an educational environment free from physical abuse; (2) past, present, ancl future

physical pain and suffering; (3) past, present, ancl future enotional pain ancl suffering; (4) meltal

angr"rish and loss    of   enjoy,rnent   of tife; (5) past, present, ancl fr-rture expenses for     physicai,

etnotional, and mental healthcare; and (6) punitirre clamages to deter the indiviclual Defendants

and others   fron similar conduct in the future.

         79,     Plairitills al'e entitled to recolrer attorney's fees and expenses pursuant to 42

u.s,c.   $ te88(b),



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         \'VHBREFORB, Plainti{fs respectfully request that the Court enter .judgment                in    rheir

 favor and agaitrst Defendant Sniith for compensatory and punitive damages, for attorrreys'                fees

 and expcnses pursuant to 42 U,S.C. $ lgS8(b), for costs, and for such other and further reyiew

 that the Court deems fair and equitable under the circumstances.

         COUNT IL VIOII\TIONS oF 42 U.S.C. S l FOR DENHL OF E.G.'S
            LIBERTY INTERBST IN BODILY INTEGRITY UNDER THE
              DUE PROCESS CII\USE OF THE I4TH A]VIENDMENT..


                                         (Plaintiffs v, Dlstrict)'

         80,     Plaintiffs hereby incorporate by reference the allegations contained in the

prcceding^ paragraphs as if fully set forth hereiu,

         Bl'     S\{SD is a state entity rvhich, through its employees, acted uncler color of state

law while proi,iding an educa[ion to H,C.

         82'     Ousley is an elected board mernber and President of the School Boarcl,              in   this

capacity she acted under color of state law while providing an eclucation to H.C.

        83.      Upon information and belief District failed to adequately train employees on the

proper handling of events that require de-cscalation or verbal rather than physical assistance in

violation of the Distr:ict's own policies.

        84.     The District's failure to adequateiy train employees on the proper hanclling of

such errents and rcporting of intervention events reflects a cleliberate indi{ferencc to the rights of

stndents such that the l)istrict's inadequate training/supervision amounts to policy violations.

        85'     Adequate training of teachers is necessary to protect school children fi.om acts of

violence at school wldch, necessarily, result in violations of the victim's constihrtional rights.




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         86'      The District's failure to adequately train and supen,ise staff on the propcr

 har:dling and repolting of student caxe represents deliberate indifference to a known patter.n of

 unconstittrtional conduct,

         87   .   fu   a direct and proximate result of the District's deliberate indifference to kno\,vn

 acts of constitutional deprivation, H.C, su{Iered the following darnages:        (l) denial of access to an
 edncational environment free        fron    abuse; (2) past, present, ancl future ph)'sical pain and

suffering; (3) past, present and fuhrre emotional,/psychological pain and su{fering; (4) rnental

angLrish and loss      of enjoyment of life; and (5) past, present and future medical            expenses for

plrysical, emotional, aud mental healthcare,

         BB.      Plainti{Is are entitled to recover attolney's fces pursuantto 42 U.S.C. $ lg88(b).

         \'VHBRB!'ORE, Plainti{Is respectfully request that the Court enrer.judgment in their

favor and against I)istrict for compensatory damages, for attomey's fees and expenscs pursuant

to 42 U.S.C' $ l988(b), for costs, and for such other relief that thc Court deems fair and equitable

under the circunrstances.

                   COUNT III .. NEGLICENT TRAINING /SUPERVISION
                           (Plaintiffs v. District and Pendland)

        89.       Plainti{Is hereby incorporate      the allegations containecl in the pr.ececling
paragrapl-rs as if fully set forth herein.

        90.       District and Pendland, as principal of the school, had a legal dufy to exercise

reasonable care    in the hiring, supenision, and training of     teachers which     it   owed to H,C. ancl

other students n'ho have a statutory right to state-furnished education.

        91.       District and Pendland breached this duty of care when they failed to adequately

train Smith on the proper handling and reporting of srudent care and                         cle-escalation in

interven tion situations,


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          92,      Instead, as a direct and proximate result of the District and Pendland's failure to

 adequately      train and supenise teachers, Sniith hacl fi'ee reign to assanlt H.C. while it           was

 completely ignored by sta{I, including Pendland, until S.G, demanded answers.

          93'      As a result of the assault, H.C. has suffered the following damages: (1) denial         of
 access   to an educatioual environment lree from abusel (2)past, present, and future physical pain

 and suffering; (3)past, present and future emotional/psychological pain and su{fering; (4)mental

 anguish and loss     of enjoyment of life; and (5) past) present and future meclical         expenses for

 physical, emotional, and mental healthcare,

          \   /HBREFORE, Plainti{fs respectfully request that the Conrt
                                                                        enter.judgnient in their

favor aud against SN{SD, Ousley and Pendland for compensatory damages and for such other

lelief rhat the court deems fair and equitable under the circumstances.

                               COUNT tV _ NEGLIGENT HIRING
                               (Plaintiffs v. SMSD and Pendtand)

          94'      Plaintifls hereby incorporate the allegations contained            in the preceding
paragraphs as if fully ser forth herein.

          95.     Defendants SMSD and Pendland had a legal duty            to   exercise due care r.vhen

hiring Srnith.

          96'     Defendants were on notice that Smith would not harre been re-hired by her prior.

emplol'e1 and made no e{forf to look further., instead they simply hired Smith.

          97.     As a direct result of hiring Smith, H.C. was the victim of physical harm at the

hands of Smith.

          98'     As a result of the assault, H.C.has suffered the following darnages: (1) denial of

acccss to an educatiotral environment free   from   abuse I (2) past, presetrt, and funrre physical    pain

and suffering; (3) past, present and fuhrre emotional/psychological pain ancl su{fering; (4)mental


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anguish and loss   of e4joyment of life; ancl (5) past, present and future medical                      expenses for

physical, enrotional, and mental healthcare.

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their

favot' and against S\{SD and Pendland for compensatory danrages and for such other relief that

the Court deems fair and equitable under the circumstances.

                                                              TRHL
       ptainti{rs rcquest a jury triat             .,":::"
                                         ""   "o




                                                                  Respectfully submitted,

                                                                  DRZ Law, LLC

                                                              /s./ I)aniel R    ewski
                                                              Daniel R, Znrijelski I(S #21275
                                                              Christopher Dove KS #21251
                                                              8700 State Line Rd., Suite 305
                                                              Leawood, KS 66206
                                                              Pr 913-400-2033
                                                              F: Bl6-523-5667
                                                              clatr@tl rz lawfi r'm. conr
                                                              chris@drzlawfirm.com




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